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 1    BURSOR & FISHER, P.A.
      L. Timothy Fisher (State Bar No. 191626)
 2    Sean L. Litteral (State Bar No. 331985)
      1990 North California Blvd., Suite 940
 3    Walnut Creek, CA 94596
      Tel: (925) 300-4455
 4    Fax: (925) 407-2700
      ltfisher@bursor.com
 5    slitteral@bursor.com

 6    Attorneys for Plaintiffs
                                  UNITED STATES DISTRICT COURT
 7
                                 NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     KELLY BALISTRERI and TONY MICHEL, )             Case No: 5:22-cv-349-EJD
10   individually, and on behalf of all those )
     similarly situated,                      )      [PROPOSED] ORDER GRANTING
11                                            )      PLAINTIFFS’ ADMINISTRATIVE
                           Plaintiff,         )      MOTION TO CONSIDER WHETHER
12                                            )      CASES SHOULD BE RELATED
13          vs.                               )
                                              )
14   MCCORMICK & COMPANY, INC.,               )
                                              )
15                         Defendant.         )
16          Upon consideration of Plaintiffs’ Administrative Motion to Consider Whether Cases
17   Should be Related, IT IS HEREBY ORDERED that:
18          Plaintiffs’ motion is GRANTED.
19          1. The Dang Action is deemed related to the Balistreri Action.
20          2. The Dang Action will be reassigned to the Honorable Edward J. Davila for all further
21              proceedings.
22                  IT IS SO ORDERED:
23

24           March 1, 2022
     Dated: ____________                               By: _____________________________
                                                              Hon. Edward J. Davila
25                                                            United States District Judge
26

27

28   [PROPOSED] ORDER                                                                           1
     CASE NO. 5:22-cv-349-EJD
